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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------)(
RUTH DUARTE,

                                 Plaintiff,

-vs-                                                          15 Civ. 6824 (PGG)

ST. BARNABAS HOSPITAL,

                                 Defendant.
-----------------------------------------------------)(

           NOTICE OF MOTION FOR REASONABLE ATTORNEYS' FEES AND COSTS

               PLEASE TAKE NOTICE that upon the Affirmations of Megan Goddard, Esq., Bruce

       Gitlin, Esq., Bennitta Joseph, Esq. and Stephen Bergstein, Esq., the exhibits annexed thereto, and

       all prior proceedings had herein, on a date to be determined by this Court, pursuant to FRCP 54

       and the New York City Human Rights Law, Plaintiff shall move this Honorable Court, at 500

       Pearl Street, New York, N.Y. 10007, for an order granting her motion for reasonable attorneys'

       fees and costs in the amount of $411,779.83.
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Dated: May 4, 2018


                                                              Respectful



                                                     ~
STEPHEN              BRUCE GITLIN     GABRIELLE VINCI         MEGAN
BERGSTEIN                                                     GODDARD

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